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CARTER L. WILLIAMS
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                                               July 15, 2011
VIA EMAIL AND FIRST CLASS MAIL

R. Chris Heck, Esq.
Kirkland & Ellis, LLP
300 N. LaSalle
Chicago, IL 60654


           Re:        In re: Deepwater Horizon, MDL No. 2179

Dear Chris:

         I write in response to your letter of July 6, 2011 to myself and my colleagues Steve Roberts
and Kerry Miller. Although we disagree with many of the positions taken in your letter (e.g., that by
publishing its investigation report Transocean has waived any work product privilege with respect to
its internal investigation), we believe that a meet and confer will be more productive after you have
had a chance to review Transocean’s recent productions of documents related to its internal
investigation of the Macondo well incident.

       As you may be aware, since the date of your letter, Transocean has produced nearly
1,000,000 pages of documents, including roughly 800,000 pages related to its internal investigation.
See, TRN-INV-01019009 - TRN-INV-01815509. To date, Transocean has produced a total of
nearly 2,000,000 pages related to its internal investigation of the Macondo well incident, and is
continuing its rolling production of such documents. We believe these productions should resolve
some, and perhaps all, of the concerns expressed in your letter.



                                                       Sincerely,


                                                       Carter L. Williams


CLW/slj

cc:        Steven L. Roberts, Esq. (Sutherland Asbill & Brennan LLP)
           Kerry Miller, Esq. (Frilot LLC)
